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AO 106 (Rev, 04/10) Application for a Search Warrant

 

 

 

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UNITED STATES DISTRICT COURP#! ©."
for the
Southern District of Ohio agit JUL -8 PH 4: 4G
In the Matter of the Search of ) WS
Briefly describe the property to be searched GO
CG idoniy ie person op name and eae b  Gaepaie, “Beds 4 1 Bf 7 12
Cellular telephone assigned call no.: (937) 416-7953 ) VI | CHAEL J. NEW MAN

APPLICATION FOR A SEARCH WARRANT

1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
ee of perjury that I have reason to believe that on the following person or property (identify the ‘person or describe the

PrOREN PATNA A. “HHIe Coun Hag authority to issue this warrant under 18 U.S.C. sections 2703(c)(1)(A) and 2711(3)

(A) and Federal Rule of Criminal Procedure 41.

located in the unknown _ District of unknown ———_—___ , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
M evidence of acrime;

© contraband, fruits of crime, or other items illegally possessed;
© property designed for use, intended for use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. section 666;
18 U.S.C. section 1061

The application is based on these facts:

See Attached Affidavit.

a Continued on the attached sheet,

om Delayed notice of 30 days (give exact ending date if more than 30 days: = —__—+): is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 
 
  
 
 

Applicant's signature

Lance R. Kepple, FBI Special Agent
Sworn to before me and signed in my presence,

Date: FAs |4

City and state: Dayton, Ohio _ ____ Michael J. Newman, United‘sta

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IN THE UNITED STATES DISTRICT COURT

FOR SOUTHER DISTRICT OF OHIO
3:14mj 272
IN THE MATTER OF THE SEARCH OF Case No.
THE CELLULAR TELEPHONE ASSIGNED
CALL NUMBER (937) 416-7953 Filed Under Seal

 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Lance R Kepple, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

L I make this affidavit in support of an application for a search warrant under
Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(1)(A) for information about the
location of the cellular telephone assigned call number (937) 416-7953 (the “Target Cell
Phone”), whose service provider is Cellco Partnership DBA Verizon, a wireless telephone

“service provider headquartered at 180 Washington Valley Road, Bedminster, New Jersey. The

Target Cell Phone is described herein and in Attachment A, and the location information to be
seized is described herein and in Attachment B.

2. I am a Special Agent (“SA”) with the Federal Bureau of Investigation (“FBI”),
United States Department of J ustice, Cincinnati Division. I have been employed as a Special
Agent with the FBI since September 1999. I have received training in violent crime
investigations, bank robbery investigations, organized crime and gang investigations, drug
trafficking investigations, and have participated in numerous organized crime, violent crime,
gang, and narcotic related investigations, arrests, and convictions. I have participated in
numerous investigations that involved wireless telephone related search warrants and court

orders.
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3. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

4, Based on the facts set forth in this affidavit, there is probable cause to believe that
violations of 18 U.S.C. § 1031 and 18 U.S.C. § 666 have been committed, are being committed,
and will be committed by Willis Blackshear and others (both known and unknown to law
enforcement). There is also probable cause to believe that the location information described in
Attachment B will constitute evidence of these criminal violations.

PROBABLE CAUSE

5. The United States government, including FBI SA Lance R Kepple, and
other law enforcement agencies, including the Ohio Organize Crime Investigators Commission
(“OOCIC”), is investigating the public corruption and fraud against the government activities of
STEVE RAUCH (“RAUCH”). RAUCH is the owner of the demolition company STEVE
RAUCH INCORPORATED (“SRI”), which does a large volume of contracts with the City of
Dayton. The following information has been provided to the undersigned by SA Burkart. In
April 2013, a former SRI Project Manager (hereafter referred to as Confidential Human Source
One “CHS-1”) was interviewed. CHS-1 stated that former Dayton Mayor RHINE MCLIN
(“MCLIN”) and RAUCH had a “tight” relationship and CHS-1 often heard jokes about them
being “together.” CHS-1 saw pictures of RAUCH and MCLIN together in RAUCH’S office as
well as gifts from MCLIN. RAUCH often threatened to “call the Mayor” when he faced issues
on Dayton projects. CHS-1 also heard RAUCH state, “I’m going to call the Mayor” on multiple

occasions when RAUCH thought SRI wasn’t the lowest bidder and therefore unlikely to get a

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demolition contract. CHS-1 recalled a City of Dayton federally funded demolition contract in
excess of $1 million issued to one of SRI’s competitors. RAUCH told CHS-1 the competitor had
the lowest bid, but failed to meet the city of Dayton’s minority subcontractor requirement. The
City of Dayton subsequently reassigned the contract to SRI, which CHS-1 suspected occurred
because of RAUCH’S relationship with MCLIN rather than the minority subcontractor

requirement.

6. In July 2013, a former project estimator and manager (hereinafter referred
to a Confidential Human Source Two “CHS-2”) of a now defunct demolition company that
directly competed with SRI was interviewed. CHS-2 stated that he began bidding on federally
funded demolition projects from the City of Dayton in approximately 2009. At the time, SRI did
the majority of demolition work for Dayton and it was "very hard to compete" with them in the
bidding process. CHS-2 heard then Dayton Mayor RHINE MCCLIN was RAUCH'S girlfriend
at the time. CHS-2 suspected MCCLIN used her influence to ensure RAUCH obtained federally

funded demolition contracts because SRI won virtually all bids.

7. In August 2013, a second former SRI Project Manager (hereafter referred
to as Confidential Human Source Three “CHS-3”) recorded a meeting with SRI’s current
controller (who is currently cooperating and hereinafter referred to as Confidential Human
Source Four “CHS-4”). During their conversation, CHS-4 stated RAUCH gave MCLIN a “shit
ton” of money while she was the Mayor of Dayton. CHS-4 continued that MCLIN used an
individual (later identified by CHS-4 as former City of Dayton Aide DAVID CLEAVENGER)

to pick up the money at SRI’s headquarters once every few weeks, “‘so she [MCLIN] didn’t have

to ever touch it.” While MCLIN was mayor, CHS-4 estimated that RAUCH gave her $100,000 a

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year. CHS-4 recalled specific occasions when RAUCH would order him to leave money out for
MCLIN as follows: “Steve would say, and you know, we need to get $10,000 in cash. So we
would get the money, put it in the envelope, seal the envelope, and put it on the front counter.
Steve... front counter? You know this was at like 5:30 at night. You sure? And he goes, when
the door makes the noise. .. or... you know, you hear the bell...we used to have a bell on the

front door, and he goes, when you .. . when you hear the bell, he goes, let it go.”!

8. In September 2013, CHS-3 placed an outgoing recorded telephone call to
‘CHS-4. During a pertinent portion of the conversation, CHS-3 asked CHS-4 the name of the
individual who used to come to SRI and get money for MCLIN. CHS-4 reported that there were
two individuals, and identified one of them as BLACKSHEAR? (the current Montgomery
County Recorder). CHS-4 continued that MCLIN used BLACKSHEAR to pick up her money
because he was not directly related to her office and, “‘she couldn’t come in herself.” CHS-4
stated that BLACKSHEAR still comes into SRI’s headquarters and “Steve still pays his

campaign and gives him a little money.”

9. On September 21, 2013, the OOCIC Task Force conducted surveillance at
the Town and County Shopping Center, Kettering, Ohio. The surveillance was based on CHS-3

information that RAUCH was hosting an annual party and attending guests would park at the

 

| The voice identifications on the recorded interceptions are based upon agent review and analysis and are
preliminary. Words that appear in quotations are the best transcription of what can be heard at this time during the
communication. When words do not appear in quotations, they reflect a summary or interpretation of the words that
can be heard in the recordings. ©

2 In February 2014, CHS-4 was approached by OOCIC Agents and agreed to cooperate with Law Enforcement.
During a subsequent interview, CHS-4 clarified that he/she only witnessed DAVID CLEAVENGER collect money
from RAUCH on behalf of MCLIN. CHS-4 further clarified that he/she only witnessed WILLIS BLACKSHEAR
collect money on behalf of WHALEY.
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Town and County Shopping Center before being bused to his residence. For approximately two
hours, agents photographed vehicles and individuals who arrived and were believed to be
attending the party. Upon reviewing the photographs, agents observed an orange 2-door 2005
Chevrolet Cobalt (according to open source databases, Chevrolet replaced the Cavalier with the
Cobalt in 2005), bearing Ohio License Plate FSY-8551 parked in the lot (hereinafter referred to
as the “SUBJECT VEHCLE”), According to the Ohio Law Enforcement Gateway (OHLEG)
database, Ohio License Plate FSY-8551 is currently registered to an orange 2005 Chevrolet
Cobalt, in the name of Willis E. Blackshear Sr., 736 Argonne Drive, Dayton, Ohio (an address

located in the Southern District of Ohio).

10. In October 2013, CHS-3 placed an outgoing recorded telephone call to
CHS-4. During a pertinent portion of the conversation, the CHS stated he/she was driving and
observed BLACKSHEAR driving an “orange Cavalier.” CHS-4 responded, “Yeah, yeah that’s
what he drives dude.” CHS-3 then asked CHS-4 if that is what BLACKSHEAR drives to get his
“little pay-offs.” CHS-4 responded, “ Uh-ha . . . that’s what he drives up here. Yeah, you’re
exactly right.” Later in the conversation, CHS-4 stated, “What he [BLACKSHEAR] does is he
acts as the intermediary, so NAN (a then-current City of Dayton Commissioner and then-
mayoral Candidate, now presently City of Dayton Mayor, NAN WHALEY) doesn’t have to
come out here. You know, the City of Dayton Commission doesn’t have to come out here. So
he [BLACKSHEAR] does all the running. He [BLACKSHEAR] comes out here and collects all
the money.” Later CHS-3 asked if “even NAN WHALEY is in on that deal?” CHS-4
responded, “Oh yeah. Very much so.” Later CHS-4 continued, “He [BLACKSHEAR] comes in
here in his little orange Cavalier and he [BLACKSHEAR] takes the money to go to her [NAN

WHALEY].”
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11. On October 22, 2013, United States Magistrate Judge Michael R. Merz,
signed a warrant (3:13-mj-463, filed under seal) authorizing the Affiant, together with other FBI
special agents, the OOCIC Task Force, and other governmental and contract personnel acting on
the supervision of such law enforcement officers, to install and monitor a GPS tracking device on

the SUBJECT VEHICLE.

12. On November 1, 2013, OOCIC Task Force members were electronically
notified that the SUBJECT VEHICLE was arriving at SRI Headquarters, located at 1550
Soldiers Home West Carrolton, Dayton, Ohio. At approximately 12:19 p.m., OOCIC Task Force
members arrived at the location and observed the SUBJECT VEHICLE parked in the SRI
Headquarters parking lot. At approximately 3:00 p.m., surveillance observed BLACKSHEAR
exit SRI Headquarters and enter the SUBJECT VEHICLE. Moments later, the SUBJECT
VEHICLE departed the SRI Headquarters parking lot and was followed to BLACKSHEAR’s
residence located at 736 Argonne Drive, Dayton, Ohio. Minutes later, the SUBJECT VEHICLE
departed and was followed to the Donut Palace, located at 3950 Salem Avenue, Dayton, Ohio.
At the Donut Palace, surveillance observed BLACKSHEAR meeting in the parking lot with an
individual later determined to be MARLON C, SHACKELFORD. After meeting for several
minutes, BLACKSHEAR retumed to the SUBJECT VEHICLE and departed the Donut Palace

parking lot.

13. On that same day, the SUBJECT VEHICLE was then observed parking on
Ludlow Street, near the intersection of Ludlow Street and West 3“ Street, Dayton, Ohio. At
approximately 3:51 p.m., BLACKSHEAR was observed walking into the front entrance of the

City of Dayton’s City Hall Building. Approximately five minutes later, BLACKSHEAR was

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observed exiting the same entrance and returned to the SUBJECT VEHICLE. BLACKSHEAR
unlocked the driver’s door and leaned into the SUBJECT VEHICLE in a manner that indicated
he was retrieving something. BLACKSHEAR then backed out of the vehicle and was
photographed holding an unknown white object. After reviewing several photographs, OOCIC
Task Force members determined that the white object appears to be folded once into an
approximately 4x4 square. BLACKSHEAR then carried the above described white object in his
left hand and entered the Montgomery County Courts Building, located at 41 North Perry Street,
Dayton, Ohio. Approximately five minutes later, BLACKSHEAR was observed exiting the
building from the same location and no longer carrying the above described white object.
BLACKSHEAR then walked back to the SUBJECT VEHICLE and departed. At approximately
4:16 p.m., the SUBJECT VEHICLE was observed pulling into the Montgomery County
Administration Building parking garage, located at 451 West 3 Street, Dayton, Ohio. The
parking garage had previously been determined to be BLACKSHEAR’s employment parking

and therefore the surveillance was terminated.

14. In November, 2013, FBI Forensic Accountant (“FA”) Susan Sigler
conducted open source database checks on MARLON C. SHACKELFORD. During the search,
FA Sigler discovered that SHACKELFORD had an unrestricted Facebook page. FA Sigler
reviewed SHACKELFORD’s unrestricted Facebook page and discovered promotions and
photographs from the political campaigns of various individuals, including the City of Dayton
Mayor NAN WHALEY. In addition, FA Sigler discovered a post from Mayor WHALEY’s

unrestricted Facebook page thanking SHACKELFORD for his support.
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15. In November 2013, pursuant to a Federal Grand Jury Subpoena, the FBI
received subscriber and call detail records for a cellular phone number believed to be used by

BLACKSHEAR identified as (937) 416-7953.

16. In March 2014, CHS-4 was interviewed. CHS-4 stated that in August
2009 he/she left SRI and returned in June 2012. When the CHS-4 returned, Montgomery County
Recorder WILLIS BLACKSHEAR was “regularly” visiting SRI. In approximately June or July
2013, the CHS-4 attended a meeting in RAUCH’s office between RAUCH and BLACKSHEAR.
During the meeting, RAUCH handed the CHS-4 a white envelope and asked CHS-4 to, “Give
this to WILLIS (BLACKSHEAR)”. The CHS-4 believes the envelope contained a stack of cash
based on the weight; the size of the object in the envelope was consistent with cash; and his/her
previous experience in handling envelopes containing cash. In approximately October 2013 and
just before the City of Dayton Mayoral election, the CHS-4 met with RAUCH and
BLACKSHEAR in the front entrance area of SRI. During the meeting, RAUCH again handed
the CHS-4 a white envelope and asked the CHS-4 to give it to BLACKSHEAR. CHS-4 believes
the envelope contained a stack of cash based on the weight; the size of the object in the envelope
was consistent with cash; and his/her previous experience in handling envelopes containing
cash.? CHS-4 also believes the envelopes contained cash based on RAUCH’s previous
statements. Specifically, RAUCH told CHS-4 he gave current City of Dayton Mayor NAN
WHALEY $50,000 in cash, and has ways to get the cash to WHALEY that is not detectable. On
another occasion, RAUCH told CHS-4 he is using BLACKSHEAR as a “go between” to

WHALEY. On two occasions, RAUCH was having an issue on a project and reported to CHS-4

 

3 See paragraph 12 for details regarding the November 1, 2013 surveillance of BLACKSHEAR.

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that he (RAUCH) gave WHALEY money and she needs to take care of it. CHS-4 has never
heard RAUCH state that any of the cash provided to WHALEY was a campaign contribution or

a loan.

17. In March 2014, CHS-4 was again interviewed. CHS-4 stated that on
Friday, March 21, 2014, at approximately 2:15 p.m., BLACKSHEAR arrived at SRI to attend a
meeting that occurred in CHS-4’s office. The purpose of the meeting between CHS-4,
BLACKSHEAR, and STEVE RAUCH, was to discuss a variety of topics including recently
issued City of Dayton Termination and Cure Letters. At the conclusion of the meeting, CHS-4
and RAUCH walked with BLACKSHEAR to the front entrance of the business. At the front
entrance, BLACKSHEAR asked to speak with RAUCH alone and the two walked outside.
CHS-4 observed BLACKSHEAR and RAUCH having a discussion through the front glass door
of the business. At approximately 3:17 p.m., CHS-4 witnessed RAUCH reach into his front
pocket and grab a roll of cash that was wrapped with a rubber band. RAUCH then removed an
unknown amount of cash from the roll and handed the cash to BLACKSHEAR.
BLACKSHEAR took the cash and placed it his front right pocket. Minutes later, CHS-4

observed the meeting conclude and BLACKSHEAR departed the SRI.

18. In March 2014, CHS-4 identified (937) 416-7953 as BLACKSHEAR’S
cellular phone number. In April 2014, pursuant to a Federal Grand Jury Subpoena, the FBI
received additional call detail records for a cellular phone number believed to be used by
BLACKSHEAR identified as (937) 416-7953. A preliminary review of the requested call detail
records indicated that (937) 416-7953 (i.e., the Target Cell Phone) had approximately 6 contacts

with (937) 604-2619 from November 29, 2013 to March 17, 2014. (937) 604-2619 has been

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identified during the course of this investigation as a cellular telephone subscribed to and used by
STEVE RAUCH. A preliminary review of the requested call detail records has also indicated
that (937) 416-7953 had approximately 6 contacts with (937) 545-0304 from December 4, 2013
to February 21,2014. According to the Experian Credit Agency, (937) 545-0304 was last

verified to be associated with NANNETTE WHALEY on May 13, 2013.

19. In approximately July 2014, CHS-4 reported that RAUCH and
BLACKSHEAR intend to meet on or about July 9, 2014. The meeting is expected to include a
payment from RAUCH to BLACHSHEAR for BLACKSHEAR’s involvement in SRI’s City of
Dayton contracts in furtherance of the above described violations of federal law. It is expected

that this meeting will occur in the Southern District of Ohio.

20. The investigation relates to the public corruption and fraud against the
government activities of WILLIS BLACKSHEAR and others (both known and unknown to law
enforcement). Investigators believe that matters relevant to the offenses under investigation have
been and continue to be discussed using Cellco Partnership DBA Verizon cell phone number
(937) 416-7953 (i.e., the Target Cell Phone). Cellco Partnership DBA Verizon is an electronic
communication service provider doing business in Bedminster, New Jersey. The listed
subscriber for this number is WILLIS E. BLACKSHEAR and investigators believe the phone is ©

currently being used by WILLIS BLACKSHEAR, a target of this investigation.

21. In my training and experience, I have learned Cellco Partnership DBA
Verizon is a company that provides cellular telephone access to the general public. I also know
that providers of cellular telephone service have technical capabilities that allow them to collect

and generate information about the locations of the cellular telephones to which they provide

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service, namely: cell-site data, also known as “tower/face information” or cell tower/sector
records. Cell-site data identifies the “cell towers” (i.e., antenna towers covering specific
geographic areas) that received a radio signal from the cellular telephone and, in some cases, the
“sector” (i.e., faces of the towers) to which the telephone connected. These towers are often a
half-mile or more apart, even in urban areas, and can be 10 or more miles apart in rural areas.
Furthermore, the tower closest to a wireless device does not necessarily serve every call made to

or from that device.

22. Based on my training and experience, I know that Cellco Partnership DBA

Verizon can collect cell-site data about the Target Cell Phone.
AUTHORIZATION REQUEST

23. Based on the foregoing, I request that the Court issue the proposed search
warrant, pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c).

24. ‘I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal
Procedure 41(f)(3), that the Court authorize the officer executing the warrant to delay notice until
30 days after the collection authorized by the warrant has been completed. There is reasonable
cause to believe that providing immediate notification of the warrant may have an adverse result,
as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of the
Target Cell Phone would seriously jeopardize the ongoing investigation, as such a disclosure
would give that person an opportunity to destroy evidence, change patterns of behavior, notify
confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). As further specified in
Attachment B, which is incorporated into the warrant, the proposed search warrant does not
authorize the seizure of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the

extent that the warrant authorizes the seizure of any wire or electronic communication (as
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defined in 18 U.S.C. § 2510) or any stored wire or electronic information, there is reasonable
necessity for the seizure for the reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

25. I further request that the Court direct Cellco Partnership DBA Verizon to disclose
to the government any information described in Attachment B that is within the possession,
custody, or control of Cellco Partnership DBA Verizon. I also request that the Court direct
Cellco Partnership DBA Verizon to furnish the government all information, facilities, and
technical assistance necessary to accomplish the collection of the information described in
Attachment B unobtrusively and with a minimum of interference with Cellico Partnership DBA
Verizon’s services, including by initiating a signal to determine the location of the Target Cell
Phone on Cellco Partnership DBA Verizon’s network or with such other reference points as may
be reasonably available, and at such intervals and times directed by the government. The
government shall reasonably compensate Cellco Partnership DBA Verizon for reasonable
expenses incurred in furnishing such facilities or assistance.

26. I further request that the Court authorize execution of the warrant at any time of
day or night, owing to the potential need to locate the Target Cell Phone outside of daytime
hours.

27. I further request that the Court order that all papers in support of this application,
including the affidavit and search warrant, be sealed until further order of the Court. These
documents discuss an ongoing criminal investigation that is neither public nor known to all of
the targets of the investigation. Accordingly, there is good cause to seal these documents

because their premature disclosure may seriously jeopardize that investigation.

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Respectfully submitted,

 

KanceR Kepple
Special Agent
FBI

Subscribed and sworn to before me on July 8, 2014

   
 

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ATTACHMENT A
Property to Be Searched

1. The cellular telephone assigned call number (937) 416-7953 (the “Target Cell Phone”),
whose wireless service provider is Cellco Partnership DBA Verizon, a company

headquartered at 180 Washington Valley Road, Bedminster, New Jersey.

2. Information about the location of the Target Cell Phone that is within the possession,

custody, or control of Cellco Partnership DBA Verizon.
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ATTACHMENT B
Particular Things to be Seized

All information about the location of the Target Cell Phone described in Attachment A
for a period of thirty days, during all times of day and night. “Information about the location of
the Target Cell Phone” includes all available GPS data, latitude-longitude data, and other precise
location information, as well as all data about which “cell towers” (i.¢., antenna towers covering
specific geographic areas) and “sectors” (i.e., faces of the towers) received a radio signal from
the cellular telephone described in Attachment A.

To the extent that the information described in the previous paragraph (hereinafter,
“Location Information”) is within the possession, custody, or control of Cellco Partnership
DBA Verizon is required to disclose the Location Information to the government. In addition,
Cellco Partnership DBA Verizon must furnish the government all information, facilities, and
technical assistance necessary to accomplish the collection of the Location Information
unobtrusively and with a minimum of interference with Cellco Partnership DBA Verizon’s
services, including by initiating a signal to determine the location of the Target Cell Phone on
Cellco Partnership DBA Verizon’s network or with such other reference points as may be
reasonably available, and at such intervals and times directed by the government. The
government shall compensate Celleo Partnership DBA Verizon for reasonable expenses
incurred in furnishing such facilities or assistance.

This warrant does not authorize the seizure of any tangible property. In approving this
warrant, the Court finds reasonable necessity for the seizure of the Location Information. See 18

U.S.C. § 3103a(b)(2).
